8:12-cr-00282-BCB-MDN        Doc # 470     Filed: 11/12/13     Page 1 of 2 - Page ID # 1291




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )              CASE NO. 8:12CR282
                                              )
              Plaintiff,                      )
                                              )
              vs.                             )              TENTATIVE FINDINGS
                                              )
CERVANDO TERAN TERRAZAS,                      )
                                              )
              Defendant.                      )

       The Court has received the Revised Presentence Investigation Report and

Addendum (“PSR”); the government’s Objection to Revised Presentence Investigation

Report and Addendum (Filing No. 462); and the Defendant's Objection to Revised

Presentence Investigation Report (Filing No. 463). The Defendant has also filed a Motion

for Downward Departure (Filing No. 465) and Motion of Defendant for a Mitigating Role

(Filing No. 466). See Order on Sentencing Schedule, ¶ 6. The Court advises the parties

that these Tentative Findings are issued with the understanding that, pursuant to United

States v. Booker, 543 U.S. 220 (2005), the sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1.     The parties’ objections to the PSR (Filing Nos. 462 and 463) will be heard at

the sentencing hearing;

       2.     The Court intends to adopt the PSR in all other respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the
8:12-cr-00282-BCB-MDN         Doc # 470   Filed: 11/12/13   Page 2 of 2 - Page ID # 1292




submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final;

       5.     The Defendant’s Motion for Downward Departure (Filing No. 465) and Motion

of Defendant for a Mitigating Role (Filing No. 466) will be heard at sentencing; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 12th day of November, 2013.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




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